Case 5:17-cr-50033-TLB   Document 46   Filed 12/01/17   Page 1 of 6 PageID #: 180
Case 5:17-cr-50033-TLB   Document 46   Filed 12/01/17   Page 2 of 6 PageID #: 181
Case 5:17-cr-50033-TLB   Document 46   Filed 12/01/17   Page 3 of 6 PageID #: 182
Case 5:17-cr-50033-TLB   Document 46   Filed 12/01/17   Page 4 of 6 PageID #: 183
Case 5:17-cr-50033-TLB   Document 46   Filed 12/01/17   Page 5 of 6 PageID #: 184
Case 5:17-cr-50033-TLB   Document 46   Filed 12/01/17   Page 6 of 6 PageID #: 185
